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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )       CRIMINAL NO. 21-cr-00451-CJN
                                                 )
SUZANNE IANNI,                                   )
    Defendant                                    )

                              ASSENTED TO MOTION TO CONTINUE

                  Now comes counsel for Suzanne Ianni and respectfully moves to
          continue the Plea Agreement Hearing currently scheduled for 7/6/2022. The
          government agrees to the request.
          As reasons therefore,
      1) On June 20, 2022, the government provided counsel with a proposed written
          plea agreement;
      2) Ms. Ianni requests a short extension so that she may continue to consider her
          options – whether to change her plea, or to proceed to trial;
      3) Assistant United States Attorney Campbell proposed such a continuance when
          he delivered the proposed plea agreement, saying, in effect, that he would not
          oppose moving the hearing to allow Ms. Ianni more time to decide;
      4) Counsel proposes any of the following dates1:
                  July 20, 21, 22, 27, 28, 29
                  August 16, 17, 19, 22, 23, 24, 25, 26
      5) The defendant agrees that the time between now and the next date be excluded
          from the calculations under 18 U.S.C. §§3161(h)(7)(A). The ends of justice
          served in the delay outweigh the best interest of the public and Mrs. Ianni in
          a speedy trial.




1
    Counsel will be unavailable for first two weeks of August.
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                                                                Respectfully submitted,
                                                                SUZANNE IANNI,
                                                                By her attorney,
                                                                Pro Hac Vice

Date: July 1, 2022
                                                                /s/ Henry Fasoldt
                                                                C. Henry Fasoldt, BBO# 667422
                                                                185 Devonshire Street, Ste. 302
                                                                Boston, MA 02110
                                                                henry@bostondefenselaw.com
                                                                617-338-0009 – office




                                   CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) on this date, July
1, 2022

                                                                /s/ Henry Fasoldt
                                                                Henry Fasoldt
